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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                    )

               v.                           )       CR. NO. 21-70 (ABJ)

SAMUEL CAMARGO                              )


                          UNOPPOSED MOTION TO CONTINUE

       Samuel Camargo, through undersigned counsel, respectfully moves this Honorable Court

to continue the February 14th hearing in this case for 60 days. The government does not oppose

this motion. The defendant needs additional time to prepare for the hearing.

       The parties agree that the exclusion of time under the Speedy Trial Act is warranted until

the next hearing date.



                                            Respectfully Submitted,

                                            A.J. KRAMER
                                            FEDERAL PUBLIC DEFENDER
                                            ____/s/________________
                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender
                                            625 Indiana Ave., N.W.
                                            Washington, D.C. 20004
                                            (202) 208-7500
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                               CERTIFICATE OF SERVICE


       I, Ubong E. Akpan, certify that on this 9th day of February 2022, I caused a copy of the

foregoing Unopposed Motion to be filed through the Electronic Case Filing (“ECF”) system and

served a copy on counsel for the government through the ECF.

                                                       /s/_________________
                                            UBONG E. AKPAN
                                            Assistant Federal Public Defender
